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8                    IN THE UNITED STATES DISTRICT COURT
9                   FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,     )           CASE NO. 2:11 CR-00325-WBS
                                   )
12                  Plaintiff,     )
                                   )           STIPULATION AND [PROPOSED]
13        v.                       )           ORDER TO EXCLUDE TIME
                                   )
14   OLIVER P. KIM,                )
                                   )
15                                 )
                    Defendant.     )
16   ______________________________)
17        The parties request that the status conference in this case be
18   continued from November 14, 2011 to January 30, 2012 at 9:30 a.m.
19   They stipulate that the time between November 14, 2011 and January
20   30, 2012 should be excluded from the calculation of time under the
21   Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(B)(iv) and Local Code T-4.
22   The parties stipulate that the ends of justice are served by the
23   Court excluding such time, so that counsel for the defendant has
24   reasonable time to review the Government’s discovery and to consult
25   with experts regarding the computer and other evidence.
26        The parties stipulate and agree that the interests of justice
27   served by granting this continuance outweigh the best interests of
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1    the public and the defendant in a speedy trial.                   18 U.S.C. §
2    3161(h)(7)(A).
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4                                                  Respectfully Submitted,
5                                                  THE ROSENFELD LAW FIRM
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7    DATE: November 8, 2011                 By:      /s/ Kenneth L. Rosenfeld1
                                                   KENNETH L. ROSENFELD
8                                                  Attorney for Defendant
9
     DATE: November 8, 2011                         /s/ Kyle Reardon
10                                                 KYLE REARDON
                                                   Assistant United States Attorney
11

12                                                 SO ORDERED.
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14   DATE:       November 8, 2011
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            AUSA Reardon has authorized Mr. Rosenfeld to sign this stipulation on
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     his behalf.

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